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                       EXHIBIT 3
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 ELLIOTT BROIDY, et al.,

                                Plaintiffs,
                                                   Case No. 1:19CV11861 (MKV)
                      —v.—

 GLOBAL RISK ADVISORS LLC, et al.,

                                Defendants.


                        DECLARATION OF MICHAEL FRANCISCO

       I, Michael Francisco, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am a partner with the law firm McGuireWoods LLP and counsel to Plaintiffs

Elliott Broidy and Broidy Capital Management, LLC (collectively, “Plaintiffs”). I respectfully

submit this declaration in support of Plaintiffs’ Motion to Strike.

       2.      Attached hereto as Exhibit A is a true and correct copy of the letter sent by counsel

for Defendants to McGuireWoods LLP on April 12, 2021.

       3.      Attached hereto as Exhibit B is a true and correct copy of the e-mail sent by counsel

for Defendants to McGuireWoods LLP on June 1, 2021.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on this 27th day of July, 2021.


                                                              /s/ Michael Francisco
                                                              Michael Francisco
